                   UNITED STATES BANKRUPTCY COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:                                 : No. 1:23-bk-00988-HWV
    UPTOWN PARTNERS, LP                :
         Debtor                        :     Chapter 11

                                      ORDER

       Upon consideration of the Debtor’s Motion for 2004 Examination and the record,
as a whole, IT IS HEREBY ORDERED THAT:


   1. The Motion is GRANTED;


   2. A representative from the City of Harrisburg is directed to appear, along with
      counsel, on August 8, 2024, at 1:30 p.m., for a 2004 Examination; and

   3. The City of Harrisburg must produce the documents requested by the
      Debtor/Movant.




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